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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  IN RE:                                           §
                                                   § CASE No. 23-10164-smr
  ASTRALABS, INC.                                  §
                                                   § CHAPTER 7
           DEBTOR.                                 §
                                                   §

                           NOTICE OF APPEARANCE AND REQUEST FOR
                            SERVICE OF NOTICES AND OTHER PAPERS

           On behalf of creditors Chad Owen, J333 Ventures, Hasan Koyluoglu, Casey Melcher,

  Nihar Patel, Sheil Patel Tom Dolezal, Matthew Kelly, Glenn Hunter, Jeremy Phillips, Eric Jeing-

  Ming Lee, David Fisher, Daniel Smith, Marco Frabotta, Frederick A Browne, Chaisson-Browne

  LLC, and Marc Russell, the undersigned requests that all notices, motions, pleadings, orders, plans,

  and disclosure statements filed, served, or entered in this case be served upon the undersigned at

  the address below.

           This Notice of Appearance and Request for Service of Notices and Other Papers is not a

  waiver of any rights, including, without limitation, the right: (i) to have final orders in non-core

  matters entered only after de novo review by a judge of the appropriate United States District

  Court; (ii) to trial by jury in any proceeding so triable in this case or any case, controversy, or

  proceeding related to this case; and (iii) to have the United States District Court withdraw the

  reference in any matters subject to mandatory or discretionary withdrawal.

           DATED: June 16, 2023.
                                                Respectfully submitted,

                                                Gregory Siemankowski
                                                Texas SBN 24077908

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                                        10


                                             COUNSEL FOR Chad Owen, J333
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                                             Melcher, Nihar Patel, Sheil Patel Tom
                                             Dolezal, Matthew Kelly, Glenn
                                             Hunter, Jeremy Phillips, and Marc
                                             Russell

                        CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing Notice of Appearance has
  been served electronically via the Court’s CM/ECF system on June 16, 2023, upon the parties on
  the attached matrix receiving electronic notice.


                                             /s/ Gregory Siemankowski
                                             Gregory Siemankowski
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Label Matrix for local noticing        ASTRALABS Inc     10                      United States Trustee (SMG17)
0542-1                                        979 Springdale Road Suite #123         United States Trustee
Case 23-10164-smr                             Austin, TX 78702-3764                  903 San Jacinto Blvd, Suite 230
Western District of Texas                                                            Austin, TX 78701-2450
Austin
Fri May 19 13:16:27 CDT 2023
U.S. BANKRUPTCY COURT                         3423 Holdings, LLC                     3423 Holdings, LLC
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                                                                                           Matrix Pg 2 of
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                                                            10 Company               Carl Lumma
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United States Trustee - AU12           Victoria Lerner, Trustee,
                                                          of 10 Lerner Living Trus       Vincent Goveas
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                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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                                                     Total               199
